Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 1 of 22




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 1:21-cv-21121-BLOOM

  ANNETTE BARNES, individually and
  on behalf of all others similarly situated,                  CLASS ACTION

         Plaintiff,                                            JURY TRIAL DEMANDED

  v.

  ALLSUP EMPLOYMENT SERVICES, LLC,

        Defendant.
  _____________________________________/




                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT1




  1
   To avoid violating the one-way intervention rule, Plaintiff respectfully requests for this Court to
  enter an order on class certification before ruling on Plaintiff’s Motion for Summary Judgment.
  See London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1252 (11th Cir. 2003) (quoting Am. Pipe &
  Constr. Co. v. Utah, 414 U.S. 538, 547 (1974)) (“‘One-way intervention’ occurs when the potential
  members of a class action are allowed to ‘await . . . final judgment on the merits in order to
  determine whether participation [in the class] would be favorable to their interests.’”).
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 2 of 22




           Plaintiff Annette Barnes, pursuant to Federal Rule of Civil Procedure 56 and Local Rule

  56.1, moves for summary judgment with respect to her and the Class members’2 claims against

  Defendant Allsup Employment Services, LLC (“AES”), under the Telephone Consumer

  Protection Act, 47 U.S.C. §227 et seq. (“TCPA”), and states:

      I.      INTRODUCTION

           “Telemarketing calls are [] intrusive. A great many people object to these calls, which

  interfere with their lives, tie up their phone lines, and cause confusion and disruption on phone

  records.” Krakauer v. Dish Network, LLC, 925 F.3d 643, 649 (4th Cir. 2019). “Faced with growing

  public criticism of abusive telephone marketing practices, Congress enacted the Telephone

  Consumer Protection Act of 1991.” Id. “The TCPA can be enforced by federal agencies, state

  attorneys general, and private citizens.” Id. at 649. The “private cause of action is a straightforward

  provision designed to achieve a straightforward result….Violations of the law are clear, as is the

  remedy. Put simply, the TCPA affords relief to those persons who, despite efforts to avoid it, have

  suffered an intrusion upon their domestic peace.” Id. at 650. The TCPA was enacted not only “to

  compensate each private injury…but also to address and deter the overall public harm caused by

  such conduct.” City Select Auto Sales, Inc. v. David Randall Assocs., 296 F.R.D. 299, 310 (D.N.J.

  2013) (quoting Texas v. Am. Blast Fax, Inc., 121 F. Supp. 2d 1085, 1090 (W.D. Tex. 2000)).

           To prevail on her TCPA, Plaintiff need only prove that AES called her and the Class

  members using an artificial or prerecorded voice. See Schaevitz v. Braman Hyundai, Inc., No. 1:17-

  cv-23890-KMM, 2019 U.S. Dist. LEXIS 48906, at *14 (S.D. Fla. Mar. 25, 2019) (Moore, J.)

  (quoting Manfred v. Bennett Law, PLLC, No. 12-cv-61548, 2012 U.S. Dist. LEXIS 173935, at *6



  2
   “Class members” means the individuals falling within the “Class” and “Subclass” definitions
  outlined in Plaintiff’s Motion for Class Certification.
                                                    1
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 3 of 22




  (S.D. Fla. Dec. 7, 2012) (Seitz, J.)). The facts of this case are simple: AES, a government

  contractor, abused its grant of authority for its own financial gain. AES called Plaintiff and the

  Class members with prerecorded voice messages that advertised and were for the purpose of

  promoting its parent, Allsup, LLC, and its affiliated entities. It did so without the requisite “express

  written consent” needed for such marketing calls, and in violation of the directives it received from

  the United States Social Security Administration (“SSA”) and was thus acting outside the scope

  of any purported authority that had been granted to it.

           In opposing this Motion, AES will attempt to disclaim its marketing activities. But AES

  cannot avoid (1) that the prerecorded calls it placed to Plaintiff and the Class members promoted

  Allsup, LLC on their face; (2) the evidence showing that AES actively cross-markets Allsup, LLC

  and its affiliated entities; and (3) that Allsup, LLC and its affiliated entities benefited financially

  from AES’s marketing activities. At best for AES, the issue of whether it was engaged in violative

  telemarketing should be decided by a jury. Accordingly, this Court should grant summary

  judgment in favor of Plaintiff and the Class members to compensate them for their injuries and

  deter future abuses by other government contractors, and leave any remaining disputed facts to be

  decided by a jury, not based on AES’s self-serving narrative.

     II.      UNDISPUTED MATERIAL FACTS

     A. AES’s Background and Business Model

                                                . SOF ¶4.

                                                                                . SOF ¶37.



                                         . SOF ¶56. A “beneficiary” is an individual who has been

  awarded SSDI benefits. SOF ¶1.

                                                     2
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 4 of 22




                                                                   . SOF ¶72.



                                                                                   SOF ¶5. Ticket

  to Work is an SSA program meant to assist SSDI recipients with getting back to work and,

  eventually, off of benefits. SOF ¶2.



                                          . SOF ¶3.

                                                           . SOF ¶7.

                                                                                             . SOF

  ¶8.

                          . SOF ¶9.




                                                                                . SOF ¶29.

                                                                            . SOF ¶36.

        B. AES’s Corporate Culture: “                                   ”




                                         . SOF ¶38.




                                         . SOF ¶¶39, 44.




                                                      3
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 5 of 22
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 6 of 22
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 7 of 22
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 8 of 22
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 9 of 22
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 10 of 22
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 11 of 22




  of law.” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997) (quoting Fed. R. Civ. P.

  56(c)) (internal quotations omitted); Damon v. Fleming Supermarkets of Fla., Inc., 196 F.3d 1354,

  1358 (11th Cir. 1999). A genuine issue exists only if “the evidence is such that a reasonable jury

  could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

  248 (1986).    When faced with a “properly supported motion for summary judgment,” the

  nonmoving party “must come forward with specific factual evidence, presenting more than mere

  allegations.” Gargiulo v. G.M. Sales, Inc., 131 F.3d 995, 999 (11th Cir. 1997). The “non-moving

  party must do more than present a ‘scintilla’ of evidence in its favor. Rather, the non-moving party

  must present sufficient evidence such that ‘reasonable jurors could find by a preponderance of the

  evidence, for the non-movant.” Sylvia Dev. Corp. v. Calvert County Md., 48 F. 3d 810, 818 (4th

  Cir. 1995) (quoting Anderson, 477 U.S. at 252).

     IV.      ARGUMENT

           The TCPA prohibits: (1) any person from calling a telephone number; (2) using a

  prerecorded message; (3) without the recipient’s prior express consent. 47 U.S.C. §227(b)(1).

  Pursuant to the rules and regulations promulgated by the Federal Communications Commission

  (“FCC”), “prior express written consent” is required for calls that introduce or contain any type

  of marketing. See In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot.

  Act of 1991, 27 FCC Rcd. 1830, 1838 ¶20 (Feb. 15, 2012) (emphasis supplied); 47 C.F.R. §

  64.1200(a). It is undisputed that: (1) AES called Plaintiff and the Class members; (2) using

  prerecorded voice messages; (3) in part to advertise and promote Allsup, LLC and its affiliates;

  (4) without Plaintiff’s and the Class members’ prior express written consent. Moreover, AES’s

  affirmative defenses do not present a barrier to summary judgment in favor of Plaintiff and the

  Class members.

                                                  10
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 12 of 22




         A. AES Called Plaintiff and Class Members With Prerecorded Voice Messages.




               . SOF ¶33.

                              . SOF ¶80.

                                                               . SOF ¶81.

         Further, the TCPA does not require that “the recipient of a call . . . answer the phone or

  somehow be aware of the call.” Schaevitz, 2019 U.S. Dist. LEXIS 48906, at *14 (quoting Fillichio

  v. M.R.S. Assocs., Inc., No. 09-61629-CIV-JORDON, 2010 U.S. Dist. LEXIS 112780, at *8 (S.D.

  Fla. Oct. 19, 2010)). “Rather, ‘it is the mere act of placing the call that triggers the statute.’” Id.

  In other words, a “violation of the TCPA occurs at the moment the [calls] were allegedly sent.”

  Mohamed v. Off Lease Only, Inc., 320 F.R.D. 301, 312 (S.D. Fla. 2017); see also Hinman v. M &

  M Rental Ctr., Inc., 596 F.Supp.2d 1152, 1159 (N.D. Ill. 2009) (reading a “receipt” requirement

  into the TCPA “imports elements that neither Congress, nor the FCC, nor any soundly reasoned

  authority has stated are part of a TCPA claim.”); see also Rinky Dink, Inc. v. Elec. Merch. Sys.,

  No. C13-1347-JCC, 2015 U.S. Dist. LEXIS 22108, at *12 (W.D. Wash. Feb. 24, 2015)

  (“The TCPA was intended to ‘apply to the persons initiating the telephone call or sending the

  message[.]’”) (quoting Couser v. Pre-paid Legal Services, Inc., 994 F.Supp.2d 1100, 1104 (S.D.

  Cal. 2014) (emphasis in the original) (citing S.Rep. No. 102-178 (1991), 1991 WL 211220 at *9)).

         AES’s anticipated arguments to the contrary are “nothing more than an attempt to

  dismember the TCPA, converting a simple remedial scheme into a fact-intensive quarrel over how

  long a party was on the line or how irritated it felt when the phone rang. Obviously, Congress

  could have created such a cumbersome scheme if it wanted to. It instead opted for a more

                                                    11
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 13 of 22




  straightforward and manageable way of protecting personal privacy[.]” Krakauer, 925 F.3d at 654.

  This Court should therefore enter summary judgment on this first element of Plaintiff’s and the

  Class members’ TCPA claim.

         B. AES’s Calls Were in Part to Market Allsup, LLC and its Affiliates

         Under the TCPA and its implementing regulations, telemarketing is defined as “the

  initiation of a telephone call or message for the purpose of encouraging the purchase or rental of,

  or investment in, property, goods, or services, which is transmitted to any person”. 47 C.F.R. §

  64.1200(f)(13) (emphasis added). Here, the evidence that demonstrates that all of the calls were

  telemarketing because of the dual-purpose AES had of promoting Allsup, LLC and its affiliates’

  services. Indeed, the undisputed facts show that (1)



                                        , SOF ¶¶57, 83-85; (2)

                                   , SOF ¶76; (3)



                                SOF ¶¶60, 61; (4)

                                                     , SOF ¶11; and (5)

                                                                                   SOF ¶82

         AES will contend that its calls were meant to provide information about the Ticket to Work

  Program, ignoring that calls “that are purely informational on their face may still violate the TCPA

  because they could ultimately be used to advertise other products or services at cost.” Fiorarancio

  v. WellCare Health Plans, Inc., Civil Action No. 21-14614 (SRC), 2022 U.S. Dist. LEXIS 5297,

  at *8 (D.N.J. Jan. 11, 2022) (citing Drug Reform Coordination Network, Inc. v. Grey House Publ'g,

  Inc., 106 F. Supp. 3d 9, 12-13 (D.D.C. 2015) (explaining that messages that promote a free good

                                                    12
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 14 of 22




  or service “are often part of an overall marketing campaign”) (quoting In re Rules & Regs.

  Implementing the Tel. Consumer Protection Act of 1991 Junk Prevention Act of 2005, 21 FCC

  Rcd. 3787, 3814 (2006))). This is known as the “dual purpose” rule, which prohibits utilizing

  “informational” calls as a pretext for advertising.

         “[U]nder the ‘dual purpose’ rule, a message may also constitute telemarketing where it is

  ultimately leads to the promotion of goods or services, even if the text may be otherwise benign.”

  Mittelmark v. Yoga Joint S., LLC, No. 18-62138-CIV-DIMITROULEAS, 2018 U.S. Dist. LEXIS

  211620, at *8 (S.D. Fla. Dec. 14, 2018) (quoting In re Rules and Regulations Implementing the

  Telephone Consumer Protection Act of 1991 (“2003 FCC Order”), 18 FCC Rcd. 14014, ¶ 142

  (2003)). In 2003, the FCC issued guidance concerning “dual purpose” calls, stating:

         If the call is intended to offer property, goods, or services for sale either during the
         call, or in the future (such as in response to a message that provides a toll-free
         number), that call is an advertisement.

  2003 Order at ¶ 142 (emphasis added); see also In re Rules & Regulations Implementing the Tel.

  Consumer Prot. Act of 1991, Report and Order, 27 FCC Rcd. 15391, at ¶ 12 (Nov. 29, 2012) (“texts

  that encourage consumers to call or otherwise contact the sender in an attempt to market, including

  such texts that, while neutral on their face, lead to a marketing message if the consumer contacts

  the sender, are likely beyond the scope of the consumer’s prior consent.”) (emphasis added).

         Consistent with this guidance, the Ninth Circuit has held that “the FCC has determined that

  so-called ‘dual purpose’ calls, those with both a customer service or informational component as

  well as a marketing component, are prohibited.” Chesbro v. Best Buy Stores, LP, 705 F.3d 913,

  917 (9th Cir. 2012) (citing 2003 FCC Order at ¶¶ 140-142); see also 2003 FCC Order at ¶ 141

  (“[The FCC] agree[’s that] application of the prerecorded message rule should turn, not on the

  caller's characterization of the call, but on the purpose of the message.”). Further, the Ninth Circuit

                                                    13
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 15 of 22




  explained that in applying the dual-purpose rule, courts must focus “not on the caller’s

  characterization of the call, but on the purpose of the message.” Chesbro, 705 F.3d at 918. It

  elaborated that courts should approach the analysis “with a measure of common sense,” keeping

  in mind that “[n]either the statute nor the regulations require an explicit mention of a good, product,

  or service where the implication is clear from the context,” and that “[a]ny additional information

  provided in the calls does not inoculate them.” Id.; see also Chinitz v. NRT West, Inc, No. 18-cv-

  06100-NC, 2019 U.S. Dist. LEXIS 27134, at *6 (N.D. Cal. Feb. 20, 2019) (“[47 C.F.R. §

  64.1200(a)(2)] makes clear that the TCPA reaches prerecorded messages that do not constitute

  advertisements or telemarketing themselves.”); Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820

  (8th Cir. 2015) (rejecting the defendants’ argument that it should “consider only the content of the

  calls in determining whether they were ‘telemarketing.’”) (citing Alleman v. Yellowbook, Inc., No.

  12-CV-1300-DRH-PMF, 2013 U.S. Dist. LEXIS 127212 (S.D. Ill. Sept. 6, 2013)); Golan, 788

  F.3d at 820 (“[n]either the TCPA nor its implementing regulations ‘require an explicit mention of

  a good, product, or service’ where the implication of an improper purpose is ‘clear from the

  context.’”) (citing Chesbro, 705 F.3d at 918); Flores v. Access Ins. Co., No. 2:15-cv-02883-

  CAS(AGRx), 2017 U.S. Dist. LEXIS 36486, at *21 (C.D. Cal. Mar. 13, 2017) (“That is, the

  communications had both informational and telemarketing purposes because plaintiff was

  informed about the status of his policy and was encouraged to purchase services from defendant.”);

  Moore v. Pro Custom Solar LLC, No. 21 C 4395, 2022 U.S. Dist. LEXIS 67347, at *7 (N.D. Ill.

  Apr. 12, 2022) (“It is the purpose behind a call, not what happens during the call, that governs for

  TCPA analysis of solicitation.”).

         In rejecting AES’s likely argument, the court in Bennett v. GoDaddy.com LLC explained

  that “[t]he relevant question is Defendant's purpose in initiating the calls, not what occurred on

                                                    14
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 16 of 22




  each call. Of course, it is often easiest to determine the purpose of a call by looking at a call's

  contents. But contents are not the only way.” No. CV-16-03908-PHX-ROS, 2019 U.S. Dist.

  LEXIS 59766, at *21 (D. Ariz. Mar. 15, 2019) (emphasis in original). The court explained that

  “Defendant's repeated insistence that the Court must look to the content of each call to determine

  whether each call was ‘telemarketing’ is simply incorrect.” Id. at *22-23.

         That AES was not very successful in its marketing does not immunize its calls because the

  “telemarketing” definition under the TCPA depends on the “purpose” of the calls—not the results

  obtained. See In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18

  FCC Rcd 14014, 223 (F.C.C. June 26, 2003) (“The TCPA's definition does not require a sale to be

  made during the call in order for the message to be considered an advertisement.”).

         In Braver v. NorthStar Alarm Servs., LLC, the court explained, in the context of ratification

  of a vendor’s calls violating the TCPA:

         Most importantly, it is undisputed that Yodel's leads resulted in roughly 150 new
         NorthStar customers. NorthStar argues that the telemarketing campaign was a
         “colossal failure,” which the court assumes, for present purposes, to be true. But
         that does not change the fact that NorthStar, with knowledge of Yodel's material
         acts, accepted the benefits of calls placed by Yodel in violation of the TCPA.

  No. CIV-17-0383-F, 2019 U.S. Dist. LEXIS 118080, at *32 (W.D. Okla. July 16, 2019) (footnotes

  omitted).

         AES has nothing to rebut the above cited evidence and, therefore, cannot meet its burden

  to show that a jury could find by a preponderance of the evidence that it was not engaged in

  marketing Allsup, LLC and its affiliates. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

  (1986). At best for AES, “[c]redibility determinations, the weighing of the evidence, and the

  drawing of legitimate inferences from the facts are jury functions, not those of a judge.” Id. at 255.

  Accordingly, if this Court is not inclined to rule in favor of Plaintiff on this issue, it should allow

                                                    15
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 17 of 22




  a jury to weigh the evidence and AES’s and its employees’ testimony.

         C. AES did not Have Express Written Consent from Plaintiff or the Class Members.

         Since AES was engaged in dual purpose marketing, it was required, but failed to, secure

  express written consent from Plaintiff and the Class members before placing calls with a

  prerecorded voice. “Express consent is not an element of a plaintiff's prima facie case but is an

  affirmative defense for which the defendant bears the burden of proof.” Keim v. ADF MidAtlantic,

  Ltd. Liab. Co., 328 F.R.D. 668, 681 (S.D. Fla. 2018) (citing Van Patten v. Vertical Fitness Grp.,

  LLC, 847 F.3d 1037, 1044 (9th Cir. 2017)). Effective October 16, 2013, a “call that includes or

  introduces an advertisement or constitutes telemarketing” requires the “the prior express written

  consent of the called party.” 47 C.F.R. §64.1200(a)(2) (emphasis supplied).

         “[P]rior express written consent” is defined as follows:

         (8) The term prior express written consent means an agreement, in writing, bearing
         the signature of the person called that clearly authorizes the seller to deliver or cause
         to be delivered to the person called advertisements or telemarketing messages using
         an automatic telephone dialing system or an artificial or prerecorded voice, and the
         telephone number to which the signatory authorizes such advertisements or
         telemarketing messages to be delivered.

         (i) The written agreement shall include a clear and conspicuous disclosure
         informing the person signing that:

         (A) By executing the agreement, such person authorizes the seller to deliver or
         cause to be delivered to the signatory telemarketing calls using an automatic
         telephone dialing system or an artificial or prerecorded voice; and

         (B) The person is not required to sign the agreement (directly or indirectly), or agree
         to enter into such an agreement as a condition of purchasing any property, goods,
         or services.

  Snyder v. Icard Gift Card, LLC, No. 0:15-CV-61718-WPD, 2016 U.S. Dist. LEXIS 191212, at

  *11-*12 (S.D. Fla. May 16, 2016) (quoting 47 C.F.R. §64.1200(f)(8)). “Thus, under binding FCC

  regulations, ‘prior express written consent’ can be obtained only after providing the recipient with

                                                    16
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 18 of 22




  the required disclosures that they agree to receive automated telephone advertisements and that

  agreeing to receive such calls is not required to make a purchase.” Snyder, 2016 U.S. Dist. LEXIS

  191212, at *13 (quoting In re Rules & Regs. Implementing the TCPA of 1991, 30 FCC Rcd. 7961,

  8015 (July 10, 2015)). “Simply obtaining some form of written express consent is insufficient to

  obtain the consent required by law to send automated text message advertisements.” Snyder, 2016

  U.S. Dist. LEXIS 191212, at *13.




                                . SOF ¶¶34, 35.

         D. AES’s Affirmative Defenses do not Prevent the Entry of Summary Judgment

             1. AES is a Person Covered Under the TCPA.

         As its first affirmative defense, AES claims that it is not a “person” under the TCPA

  because “the TCPA does not include ‘the federal government or [its] agents acting within the scope

  of their agency under common-law principles of agency.’” Answer, [DE 8], at 15-16 (quoting In

  re Rules & Regulations Implementing the Tel. Consumer Protection Act of 1991, CG Docket No.

  02-278, 31 F.C.C. Rcd. 7394, 7398 (2016)). However, AES omits the FCC’s complete rule on the

  issue: “except when a call made by a contractor does not comply with the government's

  instructions.” In re Rules & Regulations Implementing the Tel. Consumer Protection Act of 1991,

  31 F.C.C. Rcd. 7394, 7394 (July 5, 2016).

         In the case at hand, it is undisputed that AES did not comply with the SSA’s instructions

  when placing prerecorded calls to Plaintiff and the Class members.

                                                                                         . SOF ¶31.

                                                  17
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 19 of 22




  Contrary to this SSA requirement,

                                                                                            SOF ¶30

  (emphasis original).

                            s, SOF ¶¶ 24, 52, 74,                                       e, SOF ¶¶25,

  75,



                                 . Third, as discussed at length,



                                                                                            SOF ¶26,

  and nothing else.




                                                                       , SOF ¶27,

                                                                                         , SOF ¶21.

         Having failed to comply with several of the government’s instructions, AES cannot now

  claim that it is excepted from liability under the TCPA. If AES had followed the SSA’s instructions

  and limited its conduct to promoting the Ticket to Work program, it might have an argument. But

  AES did more, it seized on an opportunity to advance its and parent’s financial interests, believing

  that it could act as it pleased and would face no repercussions. AES was mistaken.

             2. AES is not Entitled to Sovereign Immunity.

         As its second affirmative defenses, AES contends that it is entitled to derivative sovereign

  immunity as a government contractor. Answer at 16-18. However, the Supreme Court has rejected

  this defense. See Campbell‐Ewald Co. v. Gomez, 577 U.S. 153, 166 (2016) (“Do federal

                                                    18
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 20 of 22




  contractors share the Government’s unqualified immunity from liability and litigation? We hold

  they do not….Campbell asserts ‘derivative sovereign immunity,’ Brief for Petitioner 35, but can

  offer no authority for the notion that private persons performing Government work acquire the

  Government’s embracive immunity.”); see also Adkisson v. Jacobs Eng'g Grp., No. 3:13‐CV‐505‐

  TAV‐HBG, 2017 U.S. Dist. LEXIS 231967 (E.D. Tenn. Feb. 15, 2017) (“In Campbell‐Ewald, the

  Supreme Court addressed a circumstance where the federal government enjoyed absolute

  immunity to the claims under the TCPA….The Court determined that Campbell‐Ewald did not

  obtain derivative absolute immunity by virtue of his status as a government contractor….Rather,

  the Court found that the contractor may obtain qualified immunity as limited by the principles set

  forth in Yearsley and Filarsky.”).

         Pursuant to Campbell‐Ewald, AES’s only available argument is that it is entitled to

  qualified immunity. However, “[q]ualified immunity may be overcome . . .if the defendant knew

  or should have known that his conduct violated a right ‘clearly established’ at the time of the

  episode in suit.” Campbell‐Ewald, 577 U.S. at 167 (quoting Filarsky v. Delia, 566 U.S. 377, 394

  (2012) (Ginsburg, J., concurring) (citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Here,

  AES cannot “contend that the TCPA’s requirements or the [SSA’s] instructions failed to qualify

  as ‘clearly established.’” Campbell‐Ewald, 577 U.S. at 168. Indeed, the TCPA and its

  implementing regulations clearly establish that express written consent is required for

  telemarketing calls using prerecorded messages.



                                       . SOF ¶¶ 24, 26, 52, 74.

             3. AES did not Have the Requisite Consent.

         As discussed at length above, AES failed to secure the requisite express written consent

                                                  19
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 21 of 22




  before placing prerecorded calls to Plaintiff and the Class members that advertised Allsup, LLC.

  Just because it was more costly for AES to use live callers or secure consent is not an excuse as

  was recently observed by Judge Ruiz in a case involving similar claims under Florida’s mini-

  TCPA. See Turizo v. Subway Franchisee Advert. Fund Tr. Ltd., No. 21-CIV-61493-RAR, 2022

  U.S. Dist. LEXIS 89622, at *26 (S.D. Fla. May 18, 2022) (“Defendant has at least two options:

  employ human means to select and dial telephone numbers, or to obtain consent from the called

  parties before using an autodialer to contact them. Conveniently enough, these two options are

  also congressionally approved ways to avoid liability under the TCPA's autodialer provision.

  See 47 U.S.C. § 227(b)(1). That Defendant might have to incur more costs or less efficient

  telemarketing practices, see Mot. at 19, does not render the FTSA unconstitutional.”).

             4. AES has no Factual Support for its Equitable Estoppel Defense.

         As its fourth and final affirmative defense, AES asserts equitable estoppel, contending that

  Plaintiff and the Class members “induced” AES to call them by providing their telephone numbers

  to the SSA. This defense warrants little discussion given the facts outlined above, absence of any

  evidence demonstrating that Plaintiff or the Class members invited AES’s prerecorded calls,




                                          . SOF ¶35. Therefore, AES has no factual support of its

  claim that Plaintiff and the Class member “induced” AES to call them.

         WHEREFORE, Plaintiff Annette Barnes, on behalf herself and the Class members,

  respectfully requests the entry of summary judgment against AES in the amount of $500 per call,

  and for such other relief as deem appropriate by the Court.




                                                 20
Case 1:21-cv-21121-BB Document 88 Entered on FLSD Docket 06/08/2022 Page 22 of 22




  Date: June 8, 2022

  Respectfully submitted,

   IJH LAW                               HIRALDO P.A.
   Ignacio J. Hiraldo, Esq.
   Florida Bar No. 0056031               /s/ Manuel S. Hiraldo
   1200 Brickell Ave Suite 1950          Manuel S. Hiraldo
   Miami, FL 33131                       Florida Bar No. 030380
   Email: ijhiraldo@ijhlaw.com           401 E. Las Olas Boulevard Suite 1400
   Telephone: 786.496.4469               Ft. Lauderdale, Florida 33301
   Counsel for Plaintiff                 Email: mhiraldo@hiraldolaw.com
                                         Telephone: 954-400-4713
                                         Counsel for Plaintiff




                                       21
